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ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                             (Note: Identify Changes with Asterisks (*))
Sheet 1



                                  UNITED STATES DISTRICT COURT
                                                            Northern District of Illinois
 UNITED STATES OF AMERICA                                                   AMENDED JUDGMENT IN A CRIMINAL CASE
           v.
 STEVE LISCANO                                                              Case Number:      1:02-CR-00719(16)
                                                                            USM Number:       14996-424
 Date of Original Judgment: 11/29/2005
                                                                            MiAngel C. Cody
 (Or Date of Last Amended Judgment)
                                                                            Defendant’s Attorney
 Reason for Amendment:
 ☐ Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))          ☐ Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or
 ☐ Reduction of Sentence for Changed Circumstances (Fed. R. Crim.               3583(e))
     P. 35(b))                                                              ☐ Modification of Imposed Term of Imprisonment for Extraordinary
 ☐ Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))          and Compelling Reasons (18 U.S.C. § 3582(c)(1))
 ☐ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)        ☐   Modification of Imposed Term of Imprisonment for Retroactive
                                                                                Amendment(s) to the Sentencing Guidelines (18 U.S.C. §
 ☒ Modification of Imposed Term of Imprisonment Pursuant to Section             3582(c)(2))
     404 of the First Step Act
                                                                            ☐   Direct Motion to District Court Pursuant ☐ 28 U.S.C. § 2255
                                                                              or ☐ 18 U.S.C. § 3559(c)(7)
                                                                            ☐ Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
  ☐ pleaded guilty to count(s)
  ☐ pleaded nolo contendere to count(s)         which was accepted by the court.
  ☒ was found guilty on count(s) 1 of the Indictment after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                Offense Ended                   Count
 21:846=Cp.F Conspiracy To Possess Controlled Substance and 18:2 Conspiracy                         10/23/2002                      1




The defendant is sentenced as provided in pages 1 through 2 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984. Other than the amendments or modifications stated in this judgment, the judgment previously entered shall stand. (See
attachments)
  ☐ The defendant has been found not guilty on count(s)
  ☐ Count(s) «dismissd_counts» dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                   September 27, 2021
                                                                                   Date of Imposition of Judgment

                                                                                   _____________________________________________
                                                                                   Signature of Judge

                                                                                   Thomas M. Durkin, United States District Judge
                                                                                   Name and Title of Judge

                                                                                   September 27, 2021
                                                                                   Date
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ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                             (Note: Identify Changes with Asterisks (*))
Sheet 2 – Imprisonment                                                                                                         Judgment – Page 2 of 2
DEFENDANT: STEVE LISCANO
CASE NUMBER: 1:02-CR-00719(16)
                                                                  IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: * Time served as to
count 1, stayed for seven days per the final paragraph of the Memorandum Opinion and Order dkt. [751].

  ☐      The court makes the following recommendations to the Bureau of Prisons:

  ☐      The defendant is remanded to the custody of the United States Marshal.

  ☐      The defendant shall surrender to the United States Marshal for this district:

            ☐      at         on

       ☐      as notified by the United States Marshal.

       ☐      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐      before 2:00 pm on

            ☐      as notified by the United States Marshal.

            ☐      as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

I have executed this judgment as follows: _____________________________________________________________________________
_______________________________________________________________________________________________________________
_______________________________________________________________________________________________________________

Defendant delivered on ___________ to ________________________ at_____________________________, with a certified copy of this
judgment.


                                                                                   __________________________________________
                                                                                   UNITED STATES MARSHAL


                                                                               By ___________________________________________
                                                                               DEPUTY UNITED STATES MARSHAL
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